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                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF MARYLAND

          CHAMBERS OF                                                                 101 WEST LOMBARD STREET
     A. DAVID COPPERTHITE                                                            BALTIMORE, MARYLAND 21201
UNITED STATES MAGISTRATE JUDGE                                                               410-962-0946
                                                                               MDD_ADCCHAMBERS@MDD.USCOURTS.GOV

                                           November 28, 2022
   TO COUNSEL OF RECORD

            Re: Johnson v. Walmart Inc., et al.
                Civil No. ADC-22-2910

   Dear Counsel:

          Enclosed is the initial scheduling order. Please review the schedule, consult with one another,
   and within fourteen (14) days of the date of this Order, jointly file a letter briefly addressing the points
   outlined below:

       1. whether you would like to participate in a settlement conference either before or after the
          completion of discovery;

       2. whether discovery of electronically stored information may be necessary;

       3. whether there should be any changes to the dates in the scheduling order;

       4. whether you would like to defer any of the expert discovery until after summary
          judgment motions are resolved; and

       5. whether the allocated deposition hours are sufficient.

          In addition, I am enclosing for your review my standing order to counsel concerning
   discovery procedures.
                                                       Very truly yours,

                                                                   /s/

                                                          A. David Copperthite
                                                          United States Magistrate Judge
   Enclosures
